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                                                                                          UNITED STATES BANKRUPTCY COURT
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                                                            12
                                                                                                    DISTRICT OF NEVADA
                      LAS VEGAS, NEVADA 89134




                                                            13
AKERMAN LLP




                                                            14   In re:                                            Case No.: 09-29123-mkn
                                                                                                                   Chapter 11
                                                            15   MELANI        SCHULTE       and     WILLIAM
                                                                 SCHULTE,                                          OPPOSITION TO DEBTORS' MOTION TO
                                                            16                                                     COMPEL
                                                            17   2704 SATTLEY LLC;
                                                                 HOT ENDEAVOR LLC;                                 Jointly Administered with:
                                                            18   1341 MINUET LLC;
                                                                 1708 PLATO PICO LLC;                              09-27238-MKN
                                                            19   2228 WARM WALNUT LLC;                             09-27909-MKN
                                                                 9425 VALLEY HILLS LLC;                            09-27910-MKN
                                                            20
                                                                 9500 ASPEN GLOW LLC;                              09-27911-MKN
                                                            21   5218 MISTY MORNING LLC;                           09-27912-MKN
                                                                 CHERISH LLC;                                      09-27913-MKN
                                                            22   SABRECO INC., and                                 09-27914-MKN
                                                                 KEEP SAFE LLC,                                    09-27916-MKN
                                                            23                                                     09-28513-MKN
                                                                                                                   09-31584-MKN
                                                            24
                                                                                                                   09-31585-MKN
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                                                            27            NewRez LLC dba Shellpoint Mortgage Servicing responds to debtor Melani Schulte's
                                                            28   Motion to Compel Discovery of Shellpoint Mortgage Servicing.

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                                                             1   I.       LEGAL STANDARD.

                                                             2            "Parties may obtain discovery regarding a nonprivileged matter that is relevant to any party's

                                                             3   claim or defense and proportional to the needs of the case," including consideration of the

                                                             4   "importance of the issues at stake in the action[,] . . . the parties' relative access to relevant

                                                             5   information, the parties' resources, the importance of the discovery in resolving the issues, and

                                                             6   whether the burden or expense of the proposed discovery outweighs its likely benefit." Fed. R. Civ.

                                                             7   P. 26(b)(1); FRBP 7026(b)(1). "[T]he court must limit the frequency or extent of discovery [if] . . .

                                                             8   the proposed discovery is outside the scope permitted by Rule 26(b)(1)." Fed. R. Civ. P. 26(b)(2).
                                                             9   "[B]road discretion is vested in the trial court to permit or deny discovery." Hallett v. Morgan, 296

                                                            10   F.3d 732, 751 (9th Cir. 2002).

                                                            11   II.      ARGUMENT.
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                                                            12            Schulte requests Shellpoint produce two nondescript categories of documents: (1) its "policy
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                                                            13   and Procedures Manuals for handling bankruptcy cases for the years 2015 to 2021"; and (2) "a list of
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                                                            14   codes and their meaning in relation to the electronic data base for Schulte's loan." Schulte is not

                                                            15   entitled to these documents.

                                                            16            A.     Schulte's requests are vague, ambiguous, and lacking in relevance.

                                                            17            The parties have engaged in multiple meet-and-confers, correspondence between counsel,

                                                            18   and supplemental responses.       Despite this fact, Schulte has still failed to identify with any

                                                            19   particularity the documents she actually seeks. As this court well knows, policies and procedures

                                                            20   relating to "bankruptcy cases" in general can encompass a vast spectrum of topics and issues, most

                                                            21   of which have absolutely no relevance to the issues in this case. For instance, "policies and

                                                            22   procedures" could encompass hiring practices, standards for protection of borrower information,

                                                            23   mail sorting, foreclosure proceedings, privileged legal matters, or any number of other categories

                                                            24   that have no bearing on Schulte's position.

                                                            25            This holds equally true for "codes" related to Shellpoint's loan "database." Schulte does not

                                                            26   explain what database or codes she is specifically referring to in either her requests for production or

                                                            27   her motion. As best Shellpoint can discern, Schulte is referring to Shellpoint's internal servicing

                                                            28   notes. But servicing notes pertain to all aspects of a loan, not just those relating to bankruptcy or

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                                                             1   communications with the borrower. Requesting a complete breakdown of "codes," without more, far

                                                             2   exceeds the scope of matters at issue.

                                                             3            It is well-established that requests for production must fall within the scope of discoverable

                                                             4   information to be valid. Shellpoint has repeatedly requested Schulte narrow her requests so that it

                                                             5   can determine whether it possesses responsive documents, and Schulte has failed to do so.

                                                             6   Shellpoint even offered to provide clarification regarding any notations in its servicing notes that

                                                             7   Schulte finds unclear in an effort to avoid burdening the court with motion practice. This is more

                                                             8   than a reasonable compromise to resolve the instant dispute. Schulte refuses to cooperate.
                                                             9            Schulte does not substantively address these issues in her motion. Instead, Schulte merely

                                                            10   asserts her requests are "standard for this type of case" without any actual analysis or explanation as

                                                            11   to how they fall within the scope of discovery. This plainly falls short of meeting her burden on a
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                                                            12   motion to compel.
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                                                            13            B.     The requested information is confidential and proprietary.
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                                                            14            Even if Shellpoint could identify the documents Schulte seeks, any policies/procedures and

                                                            15   internal notations would be confidential and proprietary.        Courts routinely hold that internal

                                                            16   corporate documents are confidential and therefore protected. See, e.g., Bank of New York v.

                                                            17   Meridian Biao Bank Tanzania Ltd., 171 F.R.D. 135, 144 (S.D.N.Y. 1997) (collecting cases); see also

                                                            18   America Standard Inc. v. Pfizer Inc., 828 F.2d 734, 737, 740-41 (Fed. Cir. 1987) (finding marketing

                                                            19   materials and pricing information confidential and proprietary); Tonnemacher v. Sasak, 155 F.R.D.

                                                            20   193, 195 (D. Ariz. 1994) (finding internal manuals highly confidential and proprietary); Sullivan

                                                            21   Marketing, Inc. v. Callassis Commc'ns, Inc., No. 93 Civ. 6350, 1994 WL 177795, at *2 (S.D.N.Y.

                                                            22   May 5, 1994) (citing Reliance Ins. Co. v. Barrons, 428 F. Supp. 200, 203 (S.D.N.Y. 1977)). Where

                                                            23   a document is proprietary and confidential, it remains undiscoverable absent a protective order,

                                                            24   regardless of whether it is relevant. Schulte has not sought the entry of a protective order, and thus

                                                            25   Shellpoint properly objected. Schulte does not even address this objection in her motion.

                                                            26            C.     Shellpoint's discovery responses satisfy its obligations.

                                                            27            Shellpoint's responses were both appropriate and complete given the foregoing issues. For

                                                            28   each request, Shellpoint provided Schulte specific objections detailing why Schulte's requests were

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                                                             1   improper. See FRCP 34 (noting a party must state the grounds for an objection). Rather than

                                                             2   actually address Shellpoint's concerns, Schulte merely complains Shellpoint's responses contain

                                                             3   "boilerplate" objections. This is not the case. Shellpoint properly objected with as much specificity

                                                             4   as it could given the lack of clarity in Schulte's own requests. Shellpoint reasonably requested (on

                                                             5   multiples occasions) that Schulte tailor her requests as required under the rules, and Schulte has

                                                             6   failed to do so. The failure to satisfy discovery obligations falls on Schulte, not Shellpoint.

                                                             7            D.     Schulte is not entitled to fees or costs.

                                                             8            Schulte argues fees and costs are warranted under FRBP 7037. Schulte again fails to provide
                                                             9   any actual argument or analysis as to why such relief is appropriate. It is not. As demonstrated

                                                            10   above, Shellpoint's objections were substantially justified such that sanctions are inappropriate. See

                                                            11   FRCP 37(a)(5)(A)(ii). In contrast, Schulte's motion is based on its own failure to cooperate in
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                                                            12   discovery and appropriately revise its requests. Shellpoint is thus entitled to the costs and fees
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                                                            13   incurred defending this motion. See FRCP 37(a)(5)(B).
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                                                            14   III.     CONCLUSION.

                                                            15            Shellpoint has made reasonable efforts to resolve the instant dispute without the need for

                                                            16   court involvement. Despite this fact, Schulte refuses to cooperate by narrowing (or even providing

                                                            17   sufficient explanation) as to the documents she seeks or why these documents fall within the scope

                                                            18   of discovery. Further, Schulte has completely ignored the confidential and propriety nature of the

                                                            19   requested information. The court should deny Schulte's motion in full.

                                                            20            DATED this 26th day of January, 2022.

                                                            21                                                 AKERMAN LLP
                                                            22                                                 /s/ Nicholas E. Belay
                                                            23                                                 ARIEL E. STERN, ESQ.
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                                                                                                               Attorneys for NewRez LLC dba Shellpoint Mortgage
                                                            28                                                 Servicing

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                                                             1                                  CERTIFICATE OF SERVICE

                                                             2            1.     On January 26, 2022, I served the following document: OPPOSITION TO

                                                             3   DEBTORS' MOTION TO COMPEL, I served the above-named document by the following

                                                             4   means to the persons as listed below: (Check all that apply)

                                                             5                    a.     ECF System - The Court’s CM/ECF systems sends an e-mail notification of
                                                                          the filing to the parties and counsel of record who are registered with the Court’s CM/ECF
                                                             6            system.
                                                             7                   b.     Personal Service - I personally delivered the document(s) to the persons at
                                                                          these addresses: N/A
                                                             8
                                                                                For a party represented by an attorney, delivery was made by handing the
                                                             9            document(s) to the attorney or by leaving the documents(s) at the attorney’s office with a
                                                                          clerk or other person in charge, or if no one is in charge by leaving the documents(s) in a
                                                            10            conspicuous place in the office: N/A
                                                            11                   For a party, delivery was made by handing the document(s) to the party or by leaving
                                                                          the document(s)at the person’s dwelling house or usual place of abode with someone of
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                                                            12            suitable age and discretion residing there: N/A
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                                                            13                  c.     By direct mail (as opposed to through the ECF System)
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                                                            14                  d.     By fax transmission
                                                            15
                                                                                e.     By messenger
                                                            16
                                                                          I declare under penalty of perjury that the foregoing is true and correct.
                                                            17
                                                                          Signed on: January 26, 2022.
                                                            18
                                                                                 Patricia Larsen                                   /s/ Patricia Larsen
                                                            19                 (Name of Declarant)                              (Signature of Declarant)
                                                            20

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